                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE


 U.S. BANK NATIONAL
 ASSOCIATION, AS TRUSTEE FOR
 THE REGISTERED HOLDERS OF
 J.P. MORGAN CHASE
 COMMERCIAL MORTGAGE
 SECURITIES TRUST 2007-LDP10                      CASE NO. 3:17-cv-00023
 COMMERCIAL MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES
 2007-LDP10,

      Plaintiff,
 v.

 WESTMARKET ASSOCIATES 2006
 LLC, LITTLE RIVER ASSOCIATES
 2006 LLC, CLINTON ASSOCIATES
 2006 LLC, NEWMARKET
 ASSOCIATES 2006 LLC, APOPKA
 ASSOCIATES 2006 LLC, AND
 WESTGATE ASSOCIATES 2006 LLC,

      Defendants.

 ______________________________________________________________________________

  VERIFIED COMPLAINT AND APPLICATION FOR APPOINTMENT OF RECEIVER
                           AND INJUNCTIVE RELIEF
 ______________________________________________________________________________

        COMES NOW, U.S. Bank National Association, as Trustee, successor to Wells Fargo

 Bank, N.A., as Trustee for the registered Holders of J.P. Morgan Chase Commercial Mortgage

 Securities Trust 2007-LDP10 Commercial Mortgage Pass-Through Certificates, Series 2007-

 LDP10 (the "Noteholder"), and for its complaint against Westmarket Associates 2006 LLC, a

 Delaware limited liability company ("Westmarket"), Little River Associates 2006 LLC, a

 Delaware limited liability company ("Little River"), Clinton Associates 2006 LLC, a Delaware

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 limited liability company ("Clinton"), Newmarket Associates 2006 LLC, a Delaware limited

 liability company ("Newmarket"), Apopka Associates 2006 LLC, a Delaware limited liability

 company ("Apopka"), and Westgate Associates 2006 LLC, a Delaware limited liability company

 ("Westgate," and together with Westmarket, Little River, Clinton, Newmarket, and Apopka,

 collectively, "Borrowers"), states the following:

                                            Introduction

        Pursuant to Rules 65 and 66 of the Federal Rules of Civil Procedure and 28 U.S.C.

 §§ 754 and 1367(a), Noteholder seeks enforcement of the terms and conditions of certain Loan

 Documents (defined below). This action is related to a commercial loan to Borrowers in the

 original principal amount of $49,600,000.00 (the "Loan") held by Noteholder which is secured

 by, among other things, security instruments and assignments of leases and rents encumbering

 income-producing commercial retail properties located in Tennessee, North Carolina, and

 Florida. The Loan is in default due to Borrowers' failure to comply with their obligations under

 the Loan Documents, including paying the Loan in full upon maturity. As a result, Noteholder

 seeks the following relief: (1) appointment of a receiver for assets comprising the Collateral

 (defined below), and (2) injunctive relief to effectuate the receivership estate. In support hereof,

 Noteholder relies upon the Verification of Christopher Peters incorporated herein, and the

 Motion for Entry of Agreed Order Appointing Receiver and Granting Injunctive Relief and brief

 in support thereof filed contemporaneously herewith.

                                               Parties

        1.      U.S. Bank National Association is a national banking association with its main

 office in Minneapolis, Minnesota.



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        2.      U.S. Bank National Association is duly appointed and presently serving as trustee

 holding certain assets in trust including the Loan to Borrowers.

        3.      Defendant Clinton is a Delaware limited liability company that maintains its

 principal place of business at 1840 Main Street, Suite 204, c/o Coastal Equities, Weston, Florida

 33326-3685. Upon information and belief, neither the members of Clinton nor the entities or

 individuals that are partners or members of the corporate parents of Clinton are citizens of

 Minnesota.    Clinton owns certain real property and improvements located at 5010 Clinton

 Highway, Knoxville, Knox County, Tennessee (the "Clinton Property"). Clinton has authorized

 National Registered Agents, Inc., 800 South Gay Street, Suite 2021, Knoxville, Tennessee

 37929-9710 as its registered agent to accept service of process.

        4.      Defendant Westmarket, is a Delaware limited liability company that maintains its

 principal place of business at 1840 Main Street, Suite 204, Weston, Florida 33326-3685. Upon

 information and belief, neither the members of Westmarket nor the entities or individuals that are

 partners or members of the corporate parents of Westmarket are citizens of Minnesota.

 Westmarket owns certain real property and improvements located at 4653 West Market Street,

 Greensboro, Guilford County, North Carolina (the "Westmarket Property"). Westmarket has

 authorized National Registered Agents, Inc., 160 Mine Lake Ct., Suite 200, Raleigh, North

 Carolina 27615-6417 as its registered agent to accept service of process.

        5.      Defendant Little River is a Delaware limited liability company that maintains its

 principal place of business at 1840 Main Street, Suite 204, Weston, Florida 33326-3685. Upon

 information and belief, neither the members of Little River nor the entities or individuals that are

 partners or members of the corporate parents of Little River are citizens of Minnesota. Little

 River owns certain real property and improvements located at 1312 West Grantham Street,
                                                  3



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 Goldsboro, Wayne County, North Carolina (the "Little River Property").          Little River has

 authorized National Registered Agents, Inc., 160 Mine Lake Ct., Suite 200, Raleigh, North

 Carolina 27615-6417 as its registered agent to accept service of process.

        6.      Defendant Newmarket is a Delaware limited liability company that maintains its

 principal place of business located at 1840 Main Street, Suite 204, Weston, Florida 33326-3685.

 Upon information and belief, neither the members of Newmarket nor the entities or individuals

 that are partners or members of the corporate parents of Newmarket are citizens of Minnesota.

 Newmarket owns certain real property and improvements located at 1339 US Highway 13,

 Ahoskie, Hertford County, North Carolina (the "Newmarket Property").            Newmarket has

 authorized National Registered Agents, Inc., 160 Mine Lake Ct., Suite 200, Raleigh, North

 Carolina 27615-6417 as its registered agent to accept service of process.

        7.      Defendant Apopka is a Delaware limited liability company that maintains its

 principal place of business located at 1840 Main Street, Suite 204, Weston, Florida 33326-3685.

 Upon information and belief, neither the members of Apopka nor the entities or individuals that

 are partners or members of the corporate parents of Apopka are citizens of Minnesota. Apopka

 owns certain real property and improvements located at 737 S. Orange Blossom Trail, Apopka,

 Orange County, Florida (the "Apopka Property"). Apopka has authorized NRAI Services, Inc.,

 1200 South Pine Island Road, Plantation, Florida 33324 as its registered agent to accept service

 of process.

        8.      Defendant Westgate is a Delaware limited liability company that maintains its

 principal place of business located at 1840 Main Street, Suite 204, Weston, Florida 33326-3685.

 Upon information and belief, neither the members of Westgate nor the entities or individuals that

 are partners or members of the corporate parents of Westgate are citizens of Minnesota.
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 Westgate owns certain real property and improvements located at 2625 Hiawassee Road,

 Orlando, Orange County, Florida (the "Westgate Property," together with the Westmarket

 Property, Little River Property, Clinton Property, Newmarket Property, and Apopka Property,

 collectively, the "Properties"). Westgate has authorized NRAI Services, Inc., 1200 South Pine

 Island Road, Plantation, Florida 33324 as its registered agent to accept service of process.

                                       Jurisdiction and Venue

        9.      This dispute arises between citizens of different states, and the amount in

 controversy exceeds the sum of $75,000.00, exclusive of interest and costs. Therefore, this

 Court has diversity-of-citizenship jurisdiction over the subject matter of this dispute pursuant to

 28 U.S.C. § 1332.

        10.     Borrowers are all obligated for payment of the Loan, and all obligations under the

 Loan are secured by the Clinton Property located in the State of Tennessee.

        11.     Borrowers are subject to personal jurisdiction in the State of Tennessee, and

 venue of this action is proper in this District, because a substantial part of the property at issue is

 situated in this District. Tenn. Code Ann. §§ 20-2-214 and/or 20-2-223; 28 U.S.C. § 1391(b)(2).

                                         Factual Allegations

 A.     The Loan

        (i)     The Loan Agreement and Note

        12.     On or about December 21, 2006, Borrowers obtained the Loan from AIG

 Mortgage Capital, LLC (the "Original Lender") in the original stated principal amount of

 $49,600,000.00.

        13.     The Loan is evidenced by that certain Amended, Restated and Consolidated

 Promissory Note dated December 21, 2006, made by Borrowers in favor of Original Lender, in
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 the original stated principal amount of $49,600,000.00 (as assumed, amended, and assigned from

 time to time, the "Note"). A true and correct copy of the Note is attached hereto as Exhibit A.

        14.       The Note calls for payment in accordance with the terms set forth in that certain

 Loan Agreement dated December 21, 2006, executed by and between Borrowers and Original

 Lender (as assumed, amended, and assigned from time to time, the "Loan Agreement"). A true

 and correct copy of the Loan Agreement is attached hereto as Exhibit B.

        (ii)      The Security Instruments.

        15.       To secure Borrowers' obligations to Original Lender under the Note, Borrowers

 granted to Original Lender a first priority security interest in the land and improvements

 associated with the Properties (collectively, the "Real Property Collateral") pursuant to the

 following security instruments (collectively, the "Security Instruments"):

               a) that certain Deed of Trust and Security Agreement dated December 21, 2006,

                  executed by Clinton for the benefit of Original Lender, and recorded with the

                  Register of Deeds for Knox County, Tennessee on December 27, 2006, as

                  Instrument Number 200612270052635;

               b) that certain Deed of Trust and Security Agreement dated December 21, 2006,

                  executed by Westmarket, Little River, and Newmarket for the benefit of Original

                  Lender, and recorded among (i) the official records for Guilford County, North

                  Carolina on December 29, 2006, as Instrument No. 2006121416 in Book R 6654,

                  Page 3005, (ii) the official records for Wayne County, North Carolina on

                  December 29, 2006 as Doc ID 009586170037 in Book 2488, Page 371, and (iii)

                  the official records for Hertford County, North Carolina on December 29, 2006,

                  in Book 677, Page 735; and
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              c) that certain Amended and Restated Mortgage and Security Agreement and Notice

                 of Future Advance dated December 21, 2006, executed by Apopka and Westgate

                 for the benefit of Original Lender, and recorded among the official records for

                 Orange County, Florida on December 28, 2006, as Instrument 20060836882 in

                 Book 09035, Page 4220.

 True and correct copies of the Security Instruments are attached hereto as Exhibits C-1 through

 C-5.

        (iii)    The Assignment of Leases and Rents

        16.      As further security for Borrowers' obligations to Original Lender, Borrowers

 granted to Original Lender an assignment of all rents, rent equivalents, income, receivables,

 revenues, receipts, or other proceeds of any kind whatsoever, derived, generated, or related to or

 from the Properties (collectively the "Rents") generated in connection with the Properties

 pursuant to the following assignments (collectively, the "Assignments of Rents"):

              a) that certain Assignment of Leases and Rents dated December 21, 2006, executed

                 by Clinton in favor of Original Lender, and recorded with the Register of Deeds

                 for Knox County, Tennessee on December 27, 2006, as Instrument Number

                 200612270052636;

              b) that certain Assignment of Leases and Rents dated December 21, 2006, executed

                 by Westmarket, Little River, and Newmarket in favor of Original Lender, and

                 recorded among (i) the official records for Guilford County, North Carolina on

                 December 29, 2006, as Instrument No. 2006121417 in Book R 6654, Page 3042,

                 (ii) the official records for Wayne County, North Carolina on December 29, 2006,

                 as Doc ID 009586190018 in Book 2488, Page 408, and (iii) the official records
                                                 7



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                  for Hertford County, North Carolina on December 29, 2006, in Book 677, Page

                  772; and

               c) that certain Assignment of Leases and Rents dated December 21, 2006, executed

                  by Apopka and Westgate in favor of Original Lender, and recorded among the

                  official records for Orange County, Florida on December 28, 2006, as Instrument

                  20060836883 in Book 09035, Page 4253.

 True and correct copies of the Assignments of Rents are attached hereto as Exhibits D-1

 through D-5.

        (iv)      The Financing Statements

        17.       Pursuant to the Security Instruments, Borrowers' obligations were further secured

 by certain personal property of Borrowers, including without limitation, Borrowers' fixtures,

 equipment, leases, proceeds, accounts and other assets (collectively, the "Personal Property

 Collateral," and together with the Real Property Collateral and the Rents, collectively, the

 "Collateral").     The Collateral encompasses all real and personal property related to the

 Properties.

        18.       Original Lender's security interest in the Personal Property Collateral was

 perfected through the filing of the following UCC-1 Financing Statements (as amended, and

 continued from time to time, the "Financing Statements"):

               a) with respect to Clinton, (i) that certain UCC-1 Financing Statement recorded with

                  the Register of Deeds for Knox County, Tennessee on December 27, 2006, as

                  Instrument Number 200612270052637, that certain assignment amendment filed

                  on June 1, 2007, as Instrument Number 200706010098589, that certain

                  assignment amendment filed on July 24, 2007, as Instrument Number
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             200707240007519, that certain assignment amendment filed on August 6, 2007,

             as Instrument Number 20070806011846, that certain assignment amendment filed

             on April 10, 2008, as Instrument Number 200804100076046, that certain

             assignment amendment filed on April 27, 2010, as Instrument Number

             201004270067353, that certain continuation amendment filed on July 11, 2011, as

             Instrument Number 201107110001748, that certain continuation amendment filed

             on July 15, 2016, as Instrument Number 201607150003335; and (ii) that certain

             UCC-1 Financing Statement recorded with the Delaware Department of State on

             January 11, 2017, as Filing Number 2017 0243185;

          b) with respect to Westmarket, (i) that certain UCC-1 Financing Statement recorded

             among the official records for Guilford County, North Carolina on December 29,

             2006, as Instrument No. 2006121418 in Book R 6654, Page 3060, that certain

             assignment amendment filed on February 13, 2007, as Instrument No.

             2007011984 in Book R 6675, Page 2401, that certain assignment amendment

             filed on July 25, 2007, as Instrument No. 2007061780 in Book R 6762, Page 900,

             that certain assignment amendment filed on August 15, 2007, as Instrument No.

             2007068040, in Book R 6772, Page 3091, that certain assignment amendment

             filed on April 10, 2008, as Instrument No. 2008026211, in Book R 6875, Page

             941, that certain assignment amendment filed on March 22, 2010, as Instrument

             No. 2010013297, in Book R 7108, Page 2758, that certain continuation

             amendment filed on July 18, 2011, as Instrument No. 2011036344, in Book R

             7256, Page 410, that certain continuation amendment filed on July 11, 2016, as

             Instrument No. 2016036719, in Book R 7832, Page 2088; and (ii) that certain
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              UCC-1 Financing Statement recorded with the Delaware Department of State on

              January 11, 2017, as Filing Number 2017 0242955;

           c) with respect to Little River, (i) that certain UCC-1 Financing Statement recorded

              among the official records for Wayne County, North Carolina on December 29,

              2006, as Doc ID 009586200008 in Book 2488, Page 426, that certain assignment

              amendment filed on January 29, 2007, as Doc ID 009625720001 in Book 2495,

              Page 535, that certain assignment amendment filed on July 26, 2007, as Doc ID

              009765990001 in Book 2547, Page 600, that certain assignment amendment filed

              on August 10, 2007, as Doc ID 009776890001, in Book 2553, Page 168, that

              certain assignment amendment filed on April 25, 2008, as Doc ID 009943410001,

              in Book 2618, Page 686, that certain assignment amendment filed on April 30,

              2010, as Doc ID 010332610005, in Book 2776, Page 551, that certain

              continuation amendment filed on July 19, 2011, as Doc ID 010545940004, in

              Book 2866, Page 163, that certain continuation amendment filed on July 18, 2016,

              as Doc ID 011469300004, in Book 3238, Page 407; and (ii) that certain UCC-1

              Financing Statement recorded with the Delaware Department of State on January

              11, 2017, as Filing Number 2017 0242641;

           d) with respect to Newmarket, (i) that certain UCC- Financing Statement recorded

              among the official records for Hertford County, North Carolina on January 12,

              2017, in Book 788, Page 356; and (ii) that certain UCC-1 Financing Statement

              recorded with the Delaware Department of State on January 11, 2017, as Filing

              Number 2017 0243532;



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            e) with respect to Apopka, (i) that certain UCC-1 Financing Statement recorded

                among official records for Orange County, Florida on December 28, 2006, as

                Instrument No. 20060836884 in Book 09035, Page 4268, that certain assignment

                amendment filed on March 29, 2007, as Instrument No. 20070206636 in Book

                09185, Page 4344, that certain assignment amendment filed on March 29, 2007,

                as Instrument No. 20070206637 in Book 09185, Page 4345, that certain

                assignment amendment filed on October 5, 2007, as Instrument No.

                20070659809, in Book 09459, Page 0402, that certain assignment amendment

                filed on April 15, 2008, as Instrument No. 20080218908, in Book 09658, Page

                4179, that certain assignment amendment filed on December 9, 2009, as

                Instrument No. 20090714356, in Book 9973, Page 0088, that certain continuation

                amendment filed on August 8, 2011, as Instrument No. 20110413957, in Book

                10250, Page 7612, that certain continuation amendment filed on July 12, 2016, as

                Instrument No. 20160354496; and (ii) that certain UCC-1 Financing Statement

                recorded with the Delaware Department of State on January 11, 2017, as Filing

                Number 2017 0243417; and

            f) with respect to Westgate, (i) that certain UCC-1 Financing Statement recorded

                among official records for Orange County, Florida on January 13, 2007,

                Instrument No. 20170027437; and (ii) that certain UCC-1 Financing Statement

                recorded with the Delaware Department of State on January 11, 2007, as Filing

                Number 2017 0243326.

  True and correct copies of the Financing Statements are attached hereto as Exhibits E-1 through

  E-6.
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  B.     Assignment to Noteholder

         19.      For purposes of this Complaint, the Loan Agreement, Note, Security Instruments,

  Assignments of Rents, Financing Statements, and all other documents evidencing or relating to

  the Loan are referred to herein as the "Loan Documents."

         20.      Original Lender sold, transferred, assigned, and conveyed all of its interest in the

  Loan Documents to Some II, LLC, a Delaware limited liability company ("Some II") by

  executing certain agreements and instruments including without limitation:

               a) Allonge to Promissory Note;

               b) Assignment of Deed of Trust and Security Agreement recorded with the Register

                  of Deeds for Knox County, Tennessee on January 9, 2007, as Instrument Number

                  200701090056236;

               c) Assignment of Assignment of Leases and Rents recorded with the Register of

                  Deeds for Knox County, Tennessee on January 9, 2007, as Instrument Number

                  200701090056237;

               d) Assignment of Deed of Trust and Security Agreement recorded among the official

                  records of Guilford County, North Carolina on February 13, 2007, as Instrument

                  No. 2007011980 in Book R 6675, Page 2368;

               e) Assignment of Assignment of Leases and Rents recorded among the official

                  records of Guilford County, North Carolina on February 13, 2007, as Instrument

                  No. 2007011983 in Book R 6675, Page 2393;

               f) Assignment of Deed of Trust and Security Agreement recorded among the official

                  records of Wayne County, North Carolina on January 29, 2007, as Doc ID

                  009625680008 in Book 2495, Page 502;
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               g) Assignment of Assignment of Leases and Rents recorded among the official

                  records of Wayne County, North Carolina on January 29, 2007, as Doc ID

                  009625690008 in Book 2495, Page 510;

               h) Assignment of Deed of Trust and Security Agreement recorded among the official

                  records of Hertford County, North Carolina on February 23, 2007, in Book 680,

                  Page 211;

               i) Assignment of Assignment of Leases and Rents recorded among the official

                  records of Hertford County, North Carolina on February 23, 2007, in Book 680,

                  Page 219;

               j) Assignment of Amended and Restated Mortgage and Security Agreement with

                  Notice of Future Advance recorded among the official records for Orange County,

                  Florida on March 29, 2007, as Instrument 20070206632, in Book 09185, Page

                  4313; and

               k) Assignment of Assignment of Leases and Rents recorded among the official

                  records for Orange County, Florida on March 29, 2007, as Instrument

                  20070206633, in Book 09185, Page 4320.

  The foregoing are collectively the "First Assignment". A true and correct copy of the First

  Assignment is attached hereto as collective Exhibit F.

         21.      Some II sold, transferred, assigned, and conveyed all of its interest in the Loan

  Documents to JPMorgan Chase Bank, N.A. ("JPMorgan") by executing certain agreements and

  instruments including without limitation:

               a) Allonge to Promissory Note;



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           b) Assignment of Deed of Trust and Security Agreement recorded with the Register

              of Deeds for Knox County, Tennessee on January 9, 2007, as Instrument Number

              200701090056238;

           c) Assignment of Assignment of Leases and Rents recorded with the Register of

              Deeds for Knox County, Tennessee on January 9, 2007, as Instrument Number

              200701090056239;

           d) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Guilford County, North Carolina on February 13, 2007, as Instrument

              No. 2007011982 in Book R 6675, Page 2384;

           e) Assignment of Assignment of Leases and Rents recorded among the official

              records of Guilford County, North Carolina on February 13, 2007, as Instrument

              No. 2007011981 in Book R 6675, Page 2376;

           f) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Wayne County, North Carolina on January 29, 2007, as Doc ID

              009625700009 in Book 2495, Page 518;

           g) Assignment of Assignment of Leases and Rents recorded among the official

              records of Wayne County, North Carolina on January 29, 2007, as Doc ID

              009625710008 in Book 2495, Page 527;

           h) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Hertford County, North Carolina on February 23, 2007, in Book 680,

              Page 227;




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                i) Assignment of Assignment of Leases and Rents recorded among the official

                   records of Hertford County, North Carolina on February 23, 2007, in Book 680,

                   Page 236;

                j) Assignment of Amended and Restated Mortgage and Security Agreement and

                   Notice of Future Advance recorded among the official records for Orange County,

                   Florida on March 29, 2007, as Instrument 20070206634, in Book 09185, Page

                   4328; and

                k) Assignment of Assignment of Leases and Rents recorded among the official

                   records for Orange County, Florida on March 29, 2007, as Instrument

                   20070206635, in Book 09185, Page 4336.

  The foregoing are collectively the "Second Assignment". A true and correct copy of the Second

  Assignment is attached hereto as collective Exhibit G.

         22.       JPMorgan sold, transferred, assigned, and conveyed all of its interest in the Loan

  Documents to Some II by executing certain agreements and instruments including without

  limitation:

                a) Allonge to Promissory Note;

                b) Assignment of Deed of Trust and Security Agreement recorded with the Register

                   of Deeds for Knox County, Tennessee on August 6, 2007, as Instrument Number

                   200708060011844;

                c) Assignment of Assignment of Leases and Rents recorded with the Register of

                   Deeds for Knox County, Tennessee on August 6, 2007, as Instrument Number

                   200708060011845;



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           d) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Guilford County, North Carolina on August 15, 2007, as Instrument

              No. 2007068038 in Book R 6772, Page 3073;

           e) Assignment of Assignment of Leases and Rents recorded among the official

              records of Guilford County, North Carolina on August 15, 2007, as Instrument

              No. 2007068039 in Book R 6772, Page 3082;

           f) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Wayne County, North Carolina on August 10, 2007, as Doc ID

              009776870009 in Book 2553, Page 150;

           g) Assignment of Assignment of Leases and Rents recorded among the official

              records of Wayne County, North Carolina on August 10, 2007, as Doc ID

              009776880009 in Book 2553, Page 159;

           h) Assignment of Deed of Trust and Security Agreement recorded among the official

              records of Hertford County, North Carolina on August 16, 2007, in Book 687,

              Page 998;

           i) Assignment of Assignment of Leases and Rents recorded among the official

              records of Hertford County, North Carolina on August 16, 2007, in Book 687,

              Page 1007;

           j) Assignment of Amended and Restated Mortgage and Security Agreement and

              Notice of Future Advance recorded among the official records for Orange County,

              Florida on October 5, 2007, as Instrument 20070659807, in Book 09459, Page

              0389; and



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               k) Assignment of Assignment of Leases and Rents recorded among the official

                  records for Orange County, Florida on October 5, 2007, as Instrument

                  20070659808, in Book 09459, Page 0398.

  The foregoing are collectively the "Third Assignment". A true and correct copy of the Third

  Assignment is attached hereto as collective Exhibit H.

         23.      Some II sold, transferred, assigned, and conveyed all of its interest in the Loan

  Documents to Wells Fargo Bank, N.A., as Trustee for the registered Holders of J.P. Morgan

  Chase Commercial Mortgage Securities Trust 2007-LDP10 Commercial Mortgage Pass-Through

  Certificates, Series 2007-LDP10 ("Prior Noteholder") by executing certain agreements and

  instruments including without limitation:

               a) Allonge to Promissory Note;

               b) Assignment of Deed of Trust and Security Agreement recorded with the Register

                  of Deeds for Knox County, Tennessee on September 3, 2008, as Instrument

                  Number 200809030015845;

               c) Assignment of Assignment of Leases and Rents recorded with the Register of

                  Deeds for Knox County, Tennessee on September 3, 2008, as Instrument

                  Number 200809030015846;

               d) Assignment of Deed of Trust and Security Agreement recorded among the official

                  records of Guilford County, North Carolina on August 20, 2008, as Instrument

                  No. 2008059962 in Book R 6927, Page 409;

               e) Assignment of Assignment of Leases and Rents recorded among the official

                  records of Guilford County, North Carolina on August 20, 2008, as Instrument

                  No. 2008059963 in Book R 6927, Page 414;
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             f) Assignment of Deed of Trust and Security Agreement recorded among the official

                 records of Wayne County, North Carolina on September 12, 2008, as Doc ID

                 010018730005 in Book 2653, Page 199;

             g) Assignment of Assignment of Leases and Rents recorded among the official

                 records of Wayne County, North Carolina on September 12, 2008, as Doc ID

                 010018740005 in Book 2653, Page 204;

             h) Assignment of Deed of Trust and Security Agreement recorded among the official

                 records of Hertford County, North Carolina on October 14, 2008, in Book 705,

                 Page 605;

             i) Assignment of Assignment of Leases and Rents recorded among the official

                 records of Hertford County, North Carolina on October 14, 2008, in Book 705,

                 Page 611;

             j) Assignment of Amended and Restated Mortgage and Security Agreement with

                 Notice of Future Advance recorded among the official records for Orange County,

                 Florida on September 3, 2008, as Instrument 20080518672, in Book 9751, Page

                 9088; and

             k) Assignment of Assignment of Leases and Rents recorded among the official

                 records for Orange County, Florida on September 3, 2008, as Instrument

                 20080518673, in Book 9751, Page 9093.

  The foregoing are collectively the "Fourth Assignment". A true and correct copy of the Fourth

  Assignment is attached hereto as collective Exhibit I.




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         24.      Prior Noteholder sold, transferred, assigned, and conveyed all of its interest in the

  Loan Documents to Noteholder by executing certain agreements and instruments including

  without limitation:

               a) Allonge;

               b) Assignment of Deed of Trust and Security Agreement and Assignment of

                  Assignment of Assignment of Leases and Rents recorded with the Register of

                  Deeds for Knox County, Tennessee on April 27, 2010, as Instrument

                  Number 201004270067352;

               c) Assignment of Deed of Trust and Security Agreement and Assignment of Leases

                  and Rents recorded among the official records of Guilford County, North Carolina

                  on March 22, 2010, as Instrument No. 2010013296 in Book R 7108, Page 2753;

               d) Assignment of Deed of Trust and Security Agreement and Assignment of

                  Assignment of Leases and Rents recorded among the official records of Hertford

                  County, North Carolina on April 26, 2010, in Book 722, Page 764; and

               e) Corrected Assignment of Amended and Restated Mortgage and Security

                  Agreement with Notice of Future Advance and Assignment of Assignment and

                  Leases and Rents recorded among the official records for Orange County, Florida

                  on December 10, 2009 as Doc Number 20090718252 in Book 9974, Page 0075.

  The foregoing are collectively the "Fifth Assignment". A true and correct copy of the Fifth

  Assignment is attached hereto as collective Exhibit J.

         25.      Noteholder is the owner and holder of the Loan Documents and is entitled to

  enforce all provisions thereof. Pursuant to certain assignments, endorsements, and/or transfers of

  the Loan Documents, described above, Noteholder is (i) entitled to the right to receive payment
                                                   19



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  due under the Note; (ii) entitled to the right to receive the outstanding indebtedness evidenced by

  the Note; and (iii) the beneficiary and holder of the liens, security interests, and rights to enforce

  the terms and provisions contained within the Loan Documents.

  C.     Events of Default

         26.     Each of the Loan Documents is cross-defaulted and cross-collateralized with the

  others. Section 10.18 of the Loan Agreement provides, in relevant part

         Borrower agrees that the [Security Instruments] are and will be cross-collateralized and
         cross-defaulted with each other so that (i) an Event of Default under any of the [Security
         Instruments] shall constitute an Event of Default under each of the other [Security
         Instruments] which secure the Note; (ii) an Event of Default under the Note or this Loan
         Agreement shall constitute an Event of Default under each [Security Instrument];
         (iii) each [Security Instrument] shall constitute security for the Note as if a single blanket
         lien were placed on all of the Properties as security for the Note; and (iv) such cross-
         collateralization shall in no event be deemed to constitute a fraudulent conveyance.

         27.     Pursuant to the terms of the Loan Documents, not later than January 1, 2017 (the

  "Maturity Date"), the entire outstanding principal balance of the Loan, together with all accrued

  and unpaid interest, property protection advances, late charges, expenses of Noteholder,

  including without limitation attorneys' fees, and all other amounts came due under the Loan

  Documents (collectively, the "Loan Obligations"). Borrowers failed to pay the Loan Obligations

  as of the Maturity Date, and by letter dated January 10, 2017, Noteholder demanded payment in

  full of the Loan Obligations. A true and correct copy of Noteholder's correspondence dated

  January 10, 2017, is attached hereto as Exhibit K.

         28.     As of the date hereof, Borrowers remain in default of the Loan Documents for

  failure to pay the Loan Obligations in full.

         29.     Borrowers have continued to operate and manage the Properties; however,

  Borrowers have not been unable pay the amounts due under the Loan Documents.

                                                   20



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  D.     Noteholder’s Remedies Under the Loan Documents

         30.     Pursuant to the terms and provisions of the Loan Documents, including Section

  3.1 of the Assignments of Rents and Section 7.1 of the Security Instruments, Noteholder is

  entitled to apply for and obtain the immediate appointment of a receiver of the Collateral,

  without regard to the adequacy of the value of the Properties, or to the solvency of Borrowers, all

  as more particularly set forth in the Loan Documents.

         31.     Pursuant to the express terms of the Loan Documents, Borrowers agreed that,

  upon an Event of Default, Noteholder can "at its option . . . by a receiver appointed by a court,

  dispossess Borrower and its agents and servants from the Property . . . and take possession of the

  Property and all books, records and accounts relating thereto and have, hold, manage, lease and

  operate the Property on such terms and for such period of time as Lender may deem proper . . . ."

  Assignments of Rents, Exhibits D-1 through D-5, at Section 3.1.

         32.     Borrowers also consented to Noteholder's right to seek appointment of a receiver

  following the Event of Default:

         7.1 Remedies. Upon the occurrence and during the continuance of any Event of
         Default, Borrower agrees that Lender may take such action, without notice or
         demand, as it deems advisable to protect and enforce its rights against Borrower
         and in and to the Property, including, but not limited to, the following actions,
         each of which may be pursued concurrently or otherwise, at such time and in such
         order as Lender may determine, in its sole discretion, without impairing or
         otherwise affecting the other rights and remedies of Lender:

                                                * * *

         (g) apply for the appointment of a receiver, trustee, liquidator or conservator of
         the Property, without notice and without regard for the adequacy of the security
         for the Debt and without regard for the solvency of the Borrower, any guarantor,
         indemnitor with respect to the Loan or of any Person liable for the payment of the
         Debt.

  Security Instruments, Exhibits C-1 through C-5, at Section 7.1.
                                                  21



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          33.     Due to the limited recourse nature of the obligations under the Loan Documents

  and Borrowers' lack of assets other than the Collateral, Noteholder's source of repayment of the

  Loan will likely be limited to any recovery realized from liquidation of the Collateral. Pursuant

  to the express terms of the Loan Agreement, Noteholder's remedies as to the Collateral include

  the right to seek the appointment of a receiver to protect its interest in the Collateral.

          34.     On numerous occasions over a time period spanning several months prior to the

  Maturity Date, through their agents, Borrowers represented to Noteholder that they were unable

  to fund costs and expenses required to manage the Collateral, including amounts needed for

  repairs, maintenance, and taxes. Borrowers' failure to maintain the Collateral has resulted in

  complaints from tenants, some of which are the major source of income for their respective

  Property, and caused some tenants to make repairs at their own expense then deduct such

  amounts from Rents otherwise due. Additionally, Noteholder is aware of at least one major code

  violation at the Westgate Property that was issued by the Orange County Code Enforcement

  Division in September of 2016 due to Borrowers' failure to maintain the parking lot.

          35.     While Noteholder has the right to foreclose the Collateral, extensive due diligence

  and analysis must be conducted prior to commencement of any such proceedings.                Once

  initiated, the foreclosure process is lengthy.       Until foreclosure or other disposition of the

  Collateral can be completed, it is necessary that a receiver be appointed so that the value of the

  Collateral can be maintained through proper management, delivery of tenant services, and

  assuring the safe operation of the Properties which are open to the public.

          36.     Noteholder is contractually and equitably entitled to the appointment of a receiver

  to take possession of and hold, subject to the discretion of this Court, Collateral to maximize

  Noteholder's recovery of amounts due under the Loan Documents.
                                                    22



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  E.     Federal Law Supporting The Appointment of Receiver

         37.     Pursuant to FED. R. CIV. P. 66, the Court may appoint a receiver upon application

  by a party in writing.

         38.     A duly appointed receiver is an officer of the Court whose powers are set forth by

  28 U.S.C. §§ 959(b) and 754 (in pertinent part), which provide,

         [A] trustee, receiver or manager appointed in any cause pending in any court of the
         United States, including a debtor in possession, shall manage and operate the property in
         his possession as such trustee, receiver or manager according to the requirements of the
         valid laws of the State in which the property is situated, in the same manner that the
         owner or possessor thereof would be bound to do if in possession thereof.

  28 U.S.C. § 959(b).

         A receiver appointed in any civil action or proceeding involving property, real, personal
         or mixed, situated in different districts shall, upon giving bond as required by the court,
         be vested with complete jurisdiction and control of all such property with the right to take
         possession thereof.

  28 U.S.C. § 754.

         39.     Upon the appointment of a receiver for property, real, personal or mixed, the

  territorial jurisdiction of the Court shall extend to any judicial district in which receivership

  property is found. See 28 U.S.C. § 1692.

         40.     In furtherance of its duties, a duly appointed receiver may administer property in

  its possession whether such property is located in the district where the receiver was appointed or

  another district including the right of a receiver to sell assets over which it is appointed. See 28

  U.S.C. §§ 2001 and 2004.

         41.     Appointment of a receiver to manage and operate the Properties is just and

  necessary in this case based on Noteholder's contractual right to apply for and obtain the

  appointment of a receiver at law, as well as equitable considerations including Borrowers' failure

                                                  23



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  to meet their obligations under the Loan Documents and failure to maintain the Properties as

  needed to protect Noteholder's security for payment of the Loan.

          42.      All conditions precedent to the maintenance of this action have been performed.

          43.      In this action, Noteholder is seeking:

                   a) appointment of a receiver to oversee, administer, and manage the Properties

  pending the foreclosure, receiver sale pursuant to 28 U.S.C. §§ 2001 and 2004, or other

  disposition of the Properties and Collateral, or satisfaction of the Loan Obligations in full;

                   b) preliminary injunction, to take effect and remain in effect for the duration of

  this case, or until further order of this Court to facilitate the receivership estate; and

                   c) such other and further relief the Court may deem just and appropriate under the

  circumstances.

                                                Count I
                                           Breach of Contract

          44.      Noteholder incorporates by reference the allegations set forth above as if set forth

  fully herein.

          45.      Under the Loan Documents, one or more Events of Default have occurred and are

  continuing, including without limitation, Borrowers' failure to pay the Loan Obligations in full

  on or before the Maturity Date which failure constitutes a breach of the Loan Documents.

          46.      As the proximate result of Borrowers’ breach of the Loan Documents, Noteholder

  is contractually entitled to exercise its remedies under the Loan Documents which includes

  applying for and obtaining the appointment of a receiver for the Collateral.




                                                     24



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                                             Count II
                                      Appointment of a Receiver

          47.     Noteholder incorporates by reference the allegations set forth above as if set forth

  fully herein.

          48.     Based on the representations of Borrowers in the Loan Documents, the Properties

  are the sole assets of Borrowers.

          49.     It is likely that Noteholder's source of repayment of the Loan will be limited to

  amounts recovered through liquidation of the Collateral.

          50.     The Loan Documents expressly allow Noteholder to seek and obtain appointment

  of a receiver upon the occurrence of an Event of Default.

          51.     Therefore, in accordance with Rule 66 of the Federal Rules of Civil Procedure,

  Noteholder, as a secured creditor, asks the Court to appoint a receiver to take immediate

  possession of, to hold, manage, and/or liquidate the Collateral.

          52.     Noteholder requests that the Court appoint Trigild, Inc. ("Trigild") as the Receiver

  for the Properties with the primary persons responsible being William J. Hoffman, its president

  and CEO, and David Wallace, its General Counsel. Trigild and its principals have nearly forty

  years of experience, national geographic coverage, and expertise necessary to act as Receiver in

  this case.

          53.     Noteholder further requests that the Court grant the Receiver all the rights,

  powers, duties, authority, and protections ordinarily granted to a receiver and necessary to take

  possession of, maintain, and preserve the value of the Collateral, including, without limitation,

  (a) the right to sell the Real Properties and Collateral, or any part thereof, pursuant to 28 U.S.C.

  § 2001, et seq., upon the request of Noteholder and in accordance with terms hereafter approved

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  by Noteholder and the Court; (b) the right to hire professionals, on terms approved by

  Noteholder, to help the Receiver manage, protect, preserve and liquidate the Properties; and

  (c) the right to enter the Properties and perform such investigations and assessments as may be

  necessary to evaluate the Collateral and to act in accordance with the terms of the proposed order

  which is attached hereto as Exhibit L.

         54.     Noteholder further requests that the Receiver’s compensation be paid monthly in

  arrears from the revenues generated from the Properties and Collateral as follows: (i) $2,500.00

  per Property per month, with a windup fee of $2,000.00 per Property if the Receiver's

  appointment is less than six months, plus hourly fees for any required services outside the

  customary scope of receivership in the amount of $255.00 per hour for legal services, $195.00

  per hour for management, accounting and operations support, and $75.00 per hour for clerical

  support, plus property accounting software costs of $150.00 per Property per month (the

  "Receiver Fee"); (ii) a monthly management fee equal to three percent of gross rental income for

  the Apopka Property and the Westgate Property, respectively, which fee shall be a minimum of

  $4,000.00 per Property per Month, and four percent of gross rental income for the Clinton

  Property, Westmarket Property, Little River Property, and Newmarket Property, respectively,

  which fee shall be a minimum of $2,000.00 per Property per Month (the "Management Fee");

  (iii) if required, a leasing fee equal to three percent of gross base rental amount for any renewal

  leases, or at market rate if a new lease is obtained with a third party broker (the "Leasing Fee");

  (iv) if required, a per project construction management fee of five percent of the first

  $250,000.00 billed, four percent of the second $250,000.00 billed, and three percent for amounts

  billed in excess of $500,000.00 (the "Construction Fee"); and (v) if required, ten percent of any

  savings obtained in a tax appeal, or hourly fees as set forth above (the "Tax Fee," and together
                                                  26



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  with the Receiver Fee, Management Fee, the Leasing Fee, the Construction Fee, collectively, the

  "Fee").

            55.   Upon information and belief, the Fee can be derived and paid from the Collateral

  and sufficient collection of the Rents generated by the Properties. Noteholder reserves the right

  to object to any fees or expenses Noteholder believes to be unreasonable.

            56.   Finally, Noteholder requests that the Receiver be required to post a Receiver’s

  Bond in an amount equal to twenty five thousand dollars ($25,000.00).

                                              Count III
                                           Injunctive Relief

            57.   Noteholder incorporates by reference the allegations set forth above as if set forth

  fully herein.

            58.   In order to fortify and enable the Receiver appointed by this Court, and to protect

  the interests of Noteholder, Noteholder requests that this Court enter a preliminary injunction, to

  take effect and remain in effect for the duration of this case, or until further order of this Court.

  Without an injunction to bolster the Receiver’s powers, it is unlikely that the receivership will

  succeed.

            59.   Under applicable law, Noteholder is entitled to preliminary injunctive relief if:

  (i) Noteholder is likely to prevail on the merits of its claims; (ii) Noteholder would suffer an

  irreparable injury if the court does not grant a preliminary injunction; (iii) a preliminary

  injunction would not cause substantial harm to others; and (iv) a preliminary injunction would be

  in the public interest. G&V Lounge, Inc. v. Michigan Liquor Control Commission, 23 F.3d 1071,

  1076 (6th Cir. 1994); International Longshoremen’s Assoc. v. Norfolk S. Corp., 92 F.2d 900, 903

  (6th Cir. 1991), cert. denied, 112 S. Ct. 63, 116 L.Ed.2d 38 (1991).

                                                   27



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         60.     Each of these elements is met in this case. The proof is uncontroverted that

  Borrowers have defaulted under the Loan Documents so there is a high likelihood that

  Noteholder will prevail on the merits of this case.

         61.     In failing to manage and preserve the Collateral in the manner required to meet

  Borrowers' obligations under the Loan Documents, Borrowers are violating Noteholder’s rights

  and impairing the Collateral. Because of Borrowers' failure to provide the resources required to

  maintain the Properties and maximize the potential of the Properties, Noteholder will suffer

  imminent harm and irreparable injury and will be left without an adequate remedy at law unless

  it is granted immediate injunctive relief.

         62.     Finally, an injunction is necessary to prevent interference by any of Borrowers or

  their agents and employees with the Receiver’s operation of and control over the Properties and

  Collateral.

         63.     Granting the relief requested will not harm Borrowers and will benefit the public

  interest by providing increased assurances to the tenants and their employees and invitees of

  proper, safe, and continuing operation of the Properties. Without such relief, there is no other

  adequate remedy at law to protect the interest of Noteholder.

         64.     Accordingly, for the reasons stated herein, Noteholder requests this Court: enter a

  preliminary injunction against Borrowers, and their successors, assigns, agents, employees,

  attorneys, or anyone acting for or in concert with them: (1) enjoining them from possessing and

  controlling the Collateral and from interfering in any way with the possession, control, or

  liquidation of the Collateral by the Receiver; (2) requiring them to turn over to the Receiver the

  possession, custody, and control over the Collateral, including, without limitation, Borrowers’

  records, books of account, ledgers and all business records thereof, wherever located and
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  however maintained (including, without limitation, information contained on computers and any

  and all software relating thereto, as well as all banking records, statements, and cancelled

  checks); (3) requiring them to turn over to the Receiver all documents which pertain to the

  Collateral, including, but not limited to, all insurance policies, whether currently in effect or

  lapsed, all contracts, leases and subleases, management agreements, franchise agreements,

  royalty agreements, employment agreements, licenses, permits or governmental approvals,

  assignments, or other agreements of any kind whatsoever relating to the Collateral; (4) enjoining

  Borrowers from removing any property from the business location and from removing,

  destroying, concealing, changing, or altering in any manner any of the books or records relating

  to the ownership, possession, or operation of the Properties and other Collateral; (5) requiring

  them to pay and turn over immediately to the Receiver all Rents and revenues from the

  Collateral, and to perform all acts necessary to transfer possession to the Receiver all the

  Properties and other Collateral related to the ownership, possession, or operation of the business

  and all accounts, accounts receivable, all keys, books, records, equipment, and all things in any

  manner related to the ownership, possession or operation of the Properties. Noteholder also

  requests that this Court enter a preliminary injunction enjoining Borrowers or any party who is

  provided with notice of the Court’s order, from prosecuting any claim against Borrowers or the

  Properties, other than in this action and only after proper motion is filed and an order is entered

  allowing such party to file such claim herein. Noteholder also requests that upon final trial of

  this cause, that this Court enter a permanent injunction consistent with the above preliminary

  injunctions, except as modified to the extent necessary to protect Noteholder's interests in the

  Collateral.



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         65.     Noteholder shall provide prior notice to Borrowers of any hearing on its request

  for injunctive relief or provide proof of the consent of Borrower thereto.

                                      PRAYER FOR RELIEF

         WHEREFORE, Noteholder prays for the following:

     a. That the Court grant Noteholder the relief it seeks on all counts;

     b. That the Court appoint Trigild as receiver to take possession and control of the Properties

  and other Collateral (including all personal property thereto, Rents, and revenues therefrom), to

  maintain, preserve, and/or liquidate the Collateral, including stabilizing the operation of the

  Properties;

     c. That the Receiver segregate, preserve, protect, collect and account for, and manage,

  operate, lease, maintain and preserve, the Properties, including the Rents;

     d. That the Court issue such orders as may be necessary under 28 U.S.C. §§ 754 and 1692

  so as to permit the Receiver to effectuate the terms of his appointment in such other judicial

  districts in which the Collateral may be located;

     e. That Borrowers and their agents charged with operating and/or managing the Properties

  promptly render an accounting for all Rents and other income from the Properties and all other

  revenue from the Properties received by Borrowers as requested by the Receiver and provide all

  such information and reports concerning the ownership, use, operation, management, repair,

  maintenance and leasing of the Properties as may be required by this Court to provide the

  Receiver the information necessary to perform its obligations as receiver of the Collateral;

     f. That Borrowers promptly pay over to the Receiver and cause Borrowers’ affiliates and

  the management companies currently managing the Properties promptly to pay over to the

  Receiver (1) all deposits of tenants of the Properties and all Rents, revenues and other income
                                                  30



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  from the Properties and all other funds which are a part of Collateral which are currently in their

  possession or control; and (2) all such deposits, Rents, revenue and other income from the

  Properties and other funds which are a part of Collateral which are received by any of them from

  and after the appointment of the Receiver;

     g. That the Receiver pay to Noteholder on a monthly basis any income and revenue from

  the Properties in excess of that amount reasonably required to manage, operate, lease, maintain

  and preserve the Properties and to pay any Fee;

     h. That Noteholder be permitted, at its sole election, and be authorized but not required to

  make such advances to the Receiver for the benefit and account of Borrowers under the Loan

  Documents as may be necessary from time to time, in the exercise of Noteholder's sole

  discretion, and as provided under the Loan Documents, to pay costs and expenses reasonably

  required to manage, operate, lease, maintain and preserve the Properties to the extent that Rents,

  income and other revenue from the Properties, are insufficient to pay such costs and expenses, all

  without Noteholder becoming a mortgagee in possession or incurring any other liability to

  Borrowers;

     i. That any such advances made by Noteholder pursuant to the foregoing paragraph (h) of

  this prayer be additional indebtedness which is owed to Noteholder under the Note and is

  secured by the Security Instruments and the other Loan Documents;

     j. That the Receiver be authorized, upon request by Noteholder, to list or otherwise

  advertise for sale and to solicit offers to purchase the Properties and to sell the Properties, on

  such terms as are acceptable and approved in writing prior to such sale by Noteholder, by way of

  public or private sale or other disposition in accordance with the applicable provisions of 28



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  U.S.C. §§ 2001 and 2004, free and clear of all security interests, liens, claims and other interests

  with all valid security interests and liens to attach to the proceeds of such sale(s);

     k. That nothing in the relief requested herein prohibit Noteholder from commencing and

  consummating judicial or non-judicial foreclosure proceedings against all or any part of the

  Properties under and pursuant to the provisions of the Security Instruments without further order

  of this Court;

     l. That all Noteholder's rights, remedies, and causes of action against Borrowers or the

  Collateral be preserved and reserved for future action or proceedings; and

     m. That this Court award such other and further relief as is just and proper.

         Respectfully submitted this 24th day of January, 2017.


                                                         BAKER, DONELSON, BEARMAN,
                                                         CALDWELL & BERKOWITZ, P.C.

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